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                                                    THE HONORABLE RICHARD A. JONES
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 6                             UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 8
 9   UNITED STATES OF AMERICA,                      )   No. CR16-00068RAJ
                                                    )
10                    Plaintiff,                    )
                                                    )   ORDER GRANTING UNOPPOSED
11              vs.                                 )   JOINT MOTION TO CONTINUE
                                                    )   TRIAL DATE AND EXTEND AND
12   CARLOS A. DE LEON SOTO and                     )   PRETRIAL MOTIONS DUE DATE
     MIGUEL SOLTERO SAMANIEGA,                      )
13                                                  )
                      Defendants.                   )
14                                                  )
15          THE COURT having considered the unopposed joint motion of the parties to

16   continue the trial date and extend the due date of the pretrial motions, and the records

17   and files herein, the Court hereby makes the following findings:

18          The Court finds that a failure to grant a continuance would deny counsel’s

19   reasonable need for additional time to properly review and analyze discovery, conduct

20   legal research, complete investigation, advise their clients, and adequately prepare their

21   defenses taking into account the exercise of due diligence; that the ends of justice will

22   be served by continuing the trial date in this case; and that these factors outweigh the

23   best interests of the defendants and the public in a more speedy trial. 18 U.S.C.

24   §§ 3161(h)(7)(A), (h)(7)(B)(i) and (iv).

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      ORDER GRANTING UNOPPOSED JOINT                             FEDERAL PUBLIC DEFENDER
      MOTION TO CONTINUE TRIAL DATE AND                             1601 Fifth Avenue, Suite 700
      EXTEND PTMs DUE DATE - 1                                        Seattle, Washington 98101
      USA v. De Leon Soto, et al. / CR16-00068RAJ                                (206) 553-1100
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 1          IT IS THEREFORE ORDERED that Defendants’ unopposed motion (Dkt. #33)
 2   is GRANTED. The trial date in this matter is continued from May 23, 2016 to
 3   October 24, 2016, at 9:00 a.m. All pretrial motions, including motions in limine, shall
 4   be filed no later than September 15, 2016.
 5          IT IS FURTHER ORDERED that the period of time from the date of this Order
 6   through the new trial date of October 24, 2016, shall be excludable time pursuant to the
 7   Speedy Trial Act, 18 U.S.C. § 3161, et seq.
 8          DATED this 12th day of May, 2016.
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                                                       A
                                                       The Honorable Richard A. Jones
11                                                     United States District Judge
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      ORDER GRANTING UNOPPOSED JOINT                            FEDERAL PUBLIC DEFENDER
      MOTION TO CONTINUE TRIAL DATE AND                            1601 Fifth Avenue, Suite 700
      EXTEND PTMs DUE DATE - 2                                       Seattle, Washington 98101
      USA v. De Leon Soto, et al. / CR16-00068RAJ                               (206) 553-1100
